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                                   17                                UNITED STATES DISTRICT COURT
                                   18                               NORTHERN DISTRICT OF CALIFORNIA
                                   19
                                        STEPHANIE ENYART                              Case NO. C09-05191
                                   20
                                                                                      NOTICE OF WITHDRAWAL OF
                                   21                  Plaintiff,                     PLAINTIFF’S MOTION FOR A THIRD
                                                                                      PRELIMINARY INJUNCTION
                                   22   v.
                                                                                      Date: February 11, 2011
                                   23   NATIONAL CONFERENCE OF BAR
                                        EXAMINERS,                                    Time: 10:00 a.m.
                                   24                                                 Courtroom: 8
                                   25                 Defendant.
                                   26
                                   27
                                   28
                                        Case 3:09-cv-05191-CRB        Document 129        Filed 01/27/11      Page 2 of 2



                                    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                    2
                                        PLEASE TAKE NOTICE that Plaintiff hereby withdraws her Notice of Motion and Motion
                                    3
                                        for A Third Preliminary Injunction and Memorandum of Points and Authorities in Support
                                    4
                                        Thereof.
                                    5
                                    6
                                        Plaintiff will not be sitting for the February 2011 administration of the California Bar
                                    7
                                        Examination, which includes the Multistate Bar Examination (MBE) controlled by
                                    8
                                        Defendant National Conference of Bar Examiners (NCBE). She therefore withdraws her
                                    9
                                        motion for a mandatory preliminary injunction requiring Defendant NCBE to provide her
                                   10
                                        requested accommodations on the February 2011 administration of the MBE. Plaintiff
                                   11
                                        plans instead to take the July 2011 administration of the California Bar Examination.
                                   12
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                                   13
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                                   15                                               Respectfully Submitted,

                                   16   Dated: January 27, 2011                     DISABILITY RIGHTS ADVOCATES
                                                                                    By:     /s/ Laurence Paradis
                                   17
                                   18                                               LABARRE LAW OFFICES, P.C.
                                   19                                               By:   /s/ Scott Labarre

                                   20
                                                                                    BROWN, GOLDSTEIN & LEVY, LLP
                                   21                                               By:  /s/ Daniel F. Goldstein
                                   22                                               Attorneys for Plaintiff
                                   23
                                   24
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                                        Enyart v. National Conference of Bar Examiners, et al., Case No.: C-09-05191
                                        NOTICE OF WITHDRAWAL OF PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
                                                                                                                                     1
